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                                               U.S. Department of Justice
[Type text]
                                                  United States Attorney
                                                  Southern District of New York

                                                  Jacob K. Javits Federal Building
                                                  26 Federal Plaza
                                                  New York, New York 10278


                                                  April 23, 2025

BY ECF

The Honorable John G. Koeltl
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

       Re:    United States v. Alexander Mashinsky, 23 Cr. 347 (JGK)

Dear Judge Koeltl:

       Please find enclosed more than 200 victim impact statements collected by the U.S.
Attorney’s Office in advance of the sentencing of defendant Alexander Mashinsky, scheduled for
May 8, 2025. The letters have been redacted for personal identifying information and sensitive
medical information. A few of the victims requested to be identified only by their initials.
Unredacted letters will be provided to the Court under seal.



                                           Respectfully submitted,

                                           JAY CLAYTON
                                           United States Attorney

                                       by: /s/
                                          Allison Nichols
                                          Adam S. Hobson
                                          Peter J. Davis
                                          Assistant United States Attorneys
                                          (212) 637-2366 / 2484 / 2468

cc: Defense Counsel (by ECF)

Enclosures
